       Case 8:06-cr-00435-JSM-MSS Document 62 Filed 04/13/07 Page 1 of 8 PageID 153
AQ 245B (Rev 06/05) Sheet 1 -Judgment in a C r m d Case


                           UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                     TAMPA DIVISION



UNTTED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER         8.06-cr-435-T-30MSS
                                                              USM NUMBER          49013-018
m.


HILARlO PEREZ-RODRIGUEZ
                                                              Defendant's Attorney: Richard M. Rocha, ret.

THE DEFENDANT:

X pleaded guilty to count@)ONE of the Indictment.
-
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                    NATURE OF OFFENSE                            OFFENSE ENDED                     COUNT
21 U.S.C. 558 846 and              Conspiracy to Possess with Intent to         September 21, 2006                 One
841 (b)(l)(A)(ii)                  Distribute 5 Kilograms or More of
                                   Cocaine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence 1s nnposed pursuant to the
Sentencing Reform Act of 1984

- The defendant has been found not guilty on count(s)
X Connt(s) TWO of the Indictment is dismissed on the motion of the United States.
-
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for t k distr~ctwithin 3 0 days of any change
of name, residence, or mailing address unul a l l fmes, restitution, costs, and special assessments imposed by this judgment are tully
pa~d.
If ordered to pay rest~tution,the defendant must notify the court and United States .4ttorney of any mater~alchange In economc
circumstances.


                                                                                Date of Imposition of Sentence: April 12. 2007




                                                                                DATE, April =,
                                                                                             2007
         Case 8:06-cr-00435-JSM-MSS Document 62 Filed 04/13/07 Page 2 of 8 PageID 154
A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a C1.iminal Case)
Delndant:             HILAIIIO PEREZ-RODRIGUEZ                                                                          Judgmen~- Page 2 of
Case No. :            8:06-cr-435-T-30MSS




          Alter consideririg thc advisory sclitencing guiclclincs and all of the factors icleritil'icrl in Titlc 18 U.S.C. S$ 3553(a)(l)-(7),
the court firicls that Ihc sclltericc imposud is sufficient, l ~ u not
                                                                   t greater t l l i ~ l iI ~ ~ c ~ s sto~ co~liply
                                                                                                           I I * ~ .j ~ i t h1110 s t n t ~ l t ~ ~
                                                                                                                                                  r yU I - p o s eofs
sen tcricing.


          T h e defendant is hereby conlmittecl to the custody of theUnitec1 States Bureau of Prisons to be imprisonctl for :I tot:11
term o I' SEVENTJr-IS1CHT (78) MONTIIS as to Count One of the I~idictnicnt.




 ?; The court ~nakcsthe following recommendations to rhe Bureau of Prisons: The defendant shall bc placed :ir n correctional
institution locaccd in Texas, if possible.




X Tlic defendant is remanded to the custody of the United States blarshal.
- 'The defendant sllall su~miderto [he United States Marshal for this district.

           - at - a. nl./p. tu. on -.
           - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the iristitution designated by the Bureau of Prisons.

           - before 2 p.m. on -.
           - as notified by the United States Marshal.
           - as notified by the Prob:ition or Pretrial Services Ol'tice.




                                                                           RETURN

           I have executcd this judgment as follows:




           Defendant delivered on                                                         to

- at                                                                                     , with a cer-ril'icd copy of this juclgmcnt.



                                                                                                  United States Marshal

                                                                             By:
                                                                                                  Deputy Unitcd Staccs Marshal
        Case 8:06-cr-00435-JSM-MSS Document 62 Filed 04/13/07 Page 3 of 8 PageID 155
A 0 24% (Rev. 05/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)
Defindmr:            141LAliIO PEREZ-RODRIGUEZ                                                           Judgnent - Pngc 3of 6
Case No. :           8:06-cr-435-T-30MSS
                                                            SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Count One of the Iiidictment.

         The defendant must report to the probation office in the district to which the defe~ldtmtis relensetl within 72 houss of release
I'rom the custody of [he Bureau of Prisons.

The defendant shall nor conmlil another federal, state, or local crime. The defendant shall not unla\vfully possess :I conrrolled subsranct..
The defendant shall refrain from any unlawful use of a controlled substance. The dcfendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of' DNA as directed by thc probation oflker.

          If this judgment imposes a fine or restitution it is a condition of supervised releasc that the dcl'endant pay in accordnnct. with
          the Schedule of Payments sheet of this judgment.

          The defendant n~ustcomply with the standard conditions that have been adoped by this court as well as with any addilional
          conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
          the clefendant shall not leave the judicial district without the permission of thc court or probatton offices;

          the defendant shall report to the probation officer and shall submit a truthfi~land complete wrirtcn rcpost nithin the ljrst five days of c x h
          month;

           the defendant shall answes truthfully all inquiries by the probation officer and follow the instructions of the prob~lionofficcr;

           the clerendan~shall suppot-t his or her dependents and meet other family responsibilities;

             the defendant shall iitorlc regularly at a lawful occupution, unless excused by thc probation officcr fos schooliti_~,
                                                                                                                                 trainln~,or othct.
             acccprable reasons;

           the defendant shall notify the probation officer at least ten days prior to any cliange in residence or employment;

             the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distsibutc: or administer any con~rollcd
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

             the dckndant shall not frequent places where controlled substances are illegally sold, used, distributcd, or r~d~iiinistesed;

             the defendant shall not associate with any persons engaged in criminal activity and shall not associate with m y pcrson convicted of a
             felony, unless granted permission to do so by the probation officer:

             the defendant shall permit a probation officer to visit Iiim or her at any time at liomc or clscwlicrc and shall pcnnit confisc;ition of an)!
             contraband observed in plain view of the probation officer;

             thc dcfendclnt shall notify the probation officer within seventy-hvo houss of being arrested or q~~estioncd
                                                                                                                      b ~ at 1;lur enfol-cement ofl'iccl-;

             the defendant sIi,ill not cntcr into an) agreement to act as :w informer or a special agcnt of a law cnfoscement agency ivithout the
             permission of the court; and

             as dirccted by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal secor-d
             or personal history or characteristics and shall permit the probation officer to make such notifications and to confimi thc dcfcndanr's
             compliance with such notification requirement.
      Case 8:06-cr-00435-JSM-MSS Document 62 Filed 04/13/07 Page 4 of 8 PageID 156

A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        I-IILARIO PEREZ-RODRIGUEZ                                                 Judgment - P:yc 4 of (,
Case No. :        8:06-cr-435-T-30MSS

                                       SPECIAL COlWITIONS OF SUPERVISION

         The defendant shall also comply with the following addilional conditions of supervised release:

X
-        Should the defendant be deported. helshe shall not be allowed to re-enter the United States without the cspress permission
         of the appropriate governmental authority.

X
-        The dttfcnd;int shall cooperate in [he collection of DNA as directed by thc probation officer.

x
-        The mandatory drug testing provisions shall apply pursuant to the Violcnl Csimc Control Act. Thc Court ~utliosizesrantloin
         drug testing not to exceed 104 tests per year.
       Case 8:06-cr-00435-JSM-MSS Document 62 Filed 04/13/07 Page 5 of 8 PageID 157
A 0 345B (Rev 06!05) S l w 5   - Criminal Monetary Penalties (Judg~iientin a Crin~ir~al
                                                                                     Case)

DeSendant:         HILARIO PEREZ-RODRIGUEZ                                                   Judgment - Pagc 5 of 6--
Case No. :         8:06-cr-435-T-30MSS

                                           CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal nlo~lcrarypenalties i~iiclcrthc scllcclulc of payrnclits o n Sllect 6.
                            Assessr~lent                          -
                                                                  Fine                       Total Kcstitution

         Totals:            $100.00                               Waived                     N/A


-        The dctcnnilution of restitution is deferred until           .    An Ame~uiedJ I I ~ ~ I I ill
                                                                                                    I C11I Crilui~li-li
                                                                                                           II            ( A 0 245C 3 will
                                                                                                                      COSC
         be entered afrcr such deter-mi~lation.
-        The defendant must make restitution (including community restitution) to the following payecs in the nnloullr listed
         below.
         If the defeildant ~nakesa partial payment, each payee shall rcceive an approximately propostioncd payment, unlcss
         specified otherwise in the priority order or percentage pa ment column below. Howcver. pursuant to 18 U .S. C. $
         3663(i). a11 non-federal victi~nsmust be paid before the dnited States.


 Xame of Payee                                 Total Loss*'                 Kcstitution Ortlcrwl              I'r-ioritv or Pwceritage




                            Totals:             $                           S

-        Restitution amount ordered pursuant to plea agreement $
 -       The defendant must pay interest on a file or restitution of more than $2,500, unlcss the rcstitu~ionor finu is paid in full
         before the fifteenth day after the date of the judgment. pursuant to 18 U.S.C. $ 3612(f). A11 uf the paynisar options on Shce~
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612ig).
 -       The court determined that the defendant does not have the ability to pay intescsr :ml it is osdercd that:
        -          che interest requirement is waived for the - fine        -     resri~ulion.
        -          the interest requirement for the - fine - restitution is modil'icd as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113.4 01' Ti~lc18 for the of'knses
cornmiitell on or after September 13, 1994, but before April 23, 1996.
        Case 8:06-cr-00435-JSM-MSS Document 62 Filed 04/13/07 Page 6 of 8 PageID 158
A 0 24513 (Rev 06/03 Sheet 6 - Schedule of Payments (Judg~nsntin a Criminal Case)

Defend;int:       141LARIO PEREZ-RODRIGUEZ                                                  Judgment - Page 6of 6
Cast. No.:        8:06-cr-435-T-30MSS



                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. paylnent of the total cri~ninalmonetary penalties arc due as follo\vs:

A.           X     Lump sum payment of $ 100.00 due imnlediately, balance clue
                            -not later than                     , or
                            - in accordance - C ,                D9 - E or - F below: or
                   Payment to begin imnediately (may be combined wit11 -C , - D. or -F belo\v): or
C.       -         Payment in equal                 (e.g.. weekly. monthly, quarterly) il~scallmentsof S              over :I
                   period of          (e.g., months or years). to comnence              days (e-g.. 30 or 60 d:iys) aftcr the
                   date of this judgment: or
D.       -         Payment in equal                (e.g., weekly, monthly. quarterly) installments of $              over a
                   period of
                                 (e.g.. ~nonthsor years) to conmerice                     (e.g. 30 or 60 days) after release
                   from impriso~iinentto a term of supervision; or
E.       -        Payment during the term of supervised release will commence within                            (e.g., 30 or
                  60 d a y ) after release from imprisonment. The court will set the payment plan based on an assess~nentof
          the defendant s ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes iniprisonn~rnt,payment of criminal inonet~ry
 enalties is due during imprisonment. All criminal monetary penalties. escept those payments made tlirough the Federal
Eureau of Prisons' Inmate Financial Responsibility Program. are made to rhe clerk of the court.
The defendant sllall receive credit for all payments previously made toward any criminal monetary penalties ilnposed.
          Joint and Several
        Defendant and Co-De fendant Names and Case Numbers (including defendant nu~liber).Toral Aniou~rr . Joint antl
Several Amount. and correspo~ldingpayee, if appropriate:


-        The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost(s):
X
-         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States inumediately and voluntarilv an); and all asset.; antl
property. or portions thereof. subject to forfeiture, which are in the possession or control of the defendant or the
defendant's nominees. The preliminary order of forfeiture is made final and will be made part of this judgment.
Payrnenrs shall be :ipplied in [hc following order: (1) assessment, (2) restiturio~ipriicipal, (3) restitution intcrcst, (4) fine principnl.
( 5 ) I'inc interest, (6) conlmunity restitution, (7) penalties, and (8) costs, including cos~of PI-osecutionand court costs.
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 "  Case 8:06-cr-00435-JSM-MSS Document 53    Filed 03/28/2007 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

     UNITED STATES OF AMERICA,

            Plaintiff,

     v,                                         :   Case No. 8:06-cr-435-T-30MSS

     OSCAR REYES,
     JUAN MIGUEL GUTIERREZ-MONTES, :
     and HlLARlO PEREZ-RODRIGUEZ,  :

            Defendant.



                         PRELIMINARY ORDER OF FORFEITURE

            THIS CAUSE comes before the Court upon the filing of the Motion of the

     United States of America for Entry of a Preliminary Order of Forfeiture (Dkt. #52) as

     to property, which, at sentencing, shall be a final order of forfeiture as to defendants

     Oscar Reyes, Juan Miguel Gutierrez-Montes, and Hilario Perez-Rodriguez's interest

     in property subject to forfeiture. The Court, being fully advised in the premises,

     hereby finds that the United States has established the requisite nexus between the

     asset described below and the conspiracy to possess cocaine with intent to

     distribute as to defendants Oscar Reyes, Juan Miguel Gutierrez-Montes, and Hilario

     Perez-Rodriguez, to which each plead guilty:

                    a)    Approximately $20,830.00 in United States currency seized on
                          September 20, 2006;

                    b)    Approximately $474.00 in United States currency seized from
                          Hilario Perez-Rodriguez; and

                    c)    Approximately $425.00 in United States currency seized from
                          Juan Miguel Gutierrez-Montes.

            Accordingly, the assets are subject to forfeiture pursuant to 21 U.S.C. $j853.
Case 8:06-cr-00435-JSM-MSS Document 62 Filed 04/13/07 Page 8 of 8 PageID 160
 '   Case 8:06-cr-00435-JSM-MSS Document 53   Filed 03/28/2007 Page 2 of 2




                The court further finds that property constitutes proceeds of the conspiracy

     to possess cocaine with intent to distribute which defendants Oscar Reyes, Juan

     Miguel Gutierrez-Montes,and Hilario Perez-Rodriguezplead guilty to. Accordingly,

     it is hereby

                ORDERED, ADJUDGED and DECREED that the United States' motion (Dkt.

     #52) is GRANTED.

                 It is further ORDERED that all right, title, and interest of defendants Oscar

     Reyes, Juan Miguel Gutierrez-Montes, and Hilario Perez-Rodriguez in the following

     assets are hereby CONDEMNED and FORFEITED to the United States of America

     for disposition according to law, pursuant to the provisions of 21 U.S.C. § 853:

                             a)          Approximately $20,830.00 in United States currency seized on
                                         September 20, 2006;

                             b)          Approximately $474.00 in United States currency seized from
                                         Hilario Perez-Rodriguez; and

                             c)          Approximately $425.00 in United States currency seized from
                                         Juan Miguel Gutierrez-Montes.

                The Court shall retain jurisdiction to enter any orders necessary for the

     forfeiture and disposition of the asset, and to entertain any third party claims that

     may be asserted in the ancillary proceedings.

                 DONE and ORDERED in Tampa, Florida on March 28, 2007.



     Copies to:
     Tonya L. Shotwell, AUSA
     Attorneys of Record
     F:\Docs\2006\06cr43S.PrelimForfelt 52.wpd
